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IN THE UNITED sTATEs DlsTRlCT CoURT Flu_=c sv n
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN 05 AU£; |6 AH 9= 22

... D.U.

 

 

UNITED STATES OF AMERICA, )

Plaintiff, §
VS § CASE NO. 04-20390-B

DOSEY NEWTON, §

Defendant. §

)

 

ORDER TO SURRENDER

 

The defendant, Dosey Newton, having been sentenced in the above case to the custody of

the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,

IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI Forrest City,

(P.O. Box 7000), 1400 Dale Bumpers Road, Forrest City, AR 72335, by 2:00 p.m. on WEDNESDAY,
AUGUST 31 , 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall Sign one
copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/ she has received a copy of this Order, and that he/ she Will report
as ordered to the facility named above.

ENTEREDthiSthe/_\}\ day ofAugust 2005.

§%,au

©NIEL BREEN
UNDIT ED STATES DISTRICT \JUDGE

Thls document entered on the docket sheet In compliance
With Fiu|e 55 and/or 32{b) FROrP on 5/ l 7 ' §§ @

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case 2:04-CR-20390 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

